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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                            CRIMINAL NUMBER:
                 v.
                                                            1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

         Defendant.


   DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S BRIEF IN
              SUPPORT OF PROPOSED JURY INSTRUCTIONS

       Defendant Concord Management and Consulting LLC (“Defendant” or “Concord”), by

and through undersigned counsel, respectfully submits this response to this Court’s November 14,

2019 Order directing the parties to submit briefs addressing any points of difference between the

parties’ proposed jury instructions. In support, Defendant states its position as it relates to the

disputed instructions as follows:

                                       Notetaking By Jurors

       The government proposes reading the Red Book Instructions regarding juror notetaking at

the beginning and end of trial. Concord’s position is that the jurors should not be permitted to take

notes and that these instructions are unnecessary.

       The Court should exercise its discretion to prevent jurors from taking notes so that they

can focus on the testimony at hand and avoid simply deferring to those jurors who take the best

notes. See Goodloe v. United States, 188 F.2d 621, 621-22 (D.C. Cir. 1950) (noting that whether

to allow jurors to take notes is within the sound discretion of the trial court); D.C. Jury Instruction

1.105, Instruction When Notetaking is Not Permitted (noting reasons for not permitting jurors to




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take notes, including importance of jurors observing the witnesses).             Accordingly, the

government’s proposed instruction on notetaking by jurors is unnecessary.

       The government argues that jurors should be permitted to take notes because of the

anticipated length and complexity of the trial. See ECF 248-1 at 4. But, contrary to the

government’s assertion, courts have prohibited juror notetaking for exactly those same reasons.

See United States v. Baker, 10 F.3d 1374, 1403 (9th Cir. 1993) (observing that the district court

properly articulated several reasons for prohibiting notetaking, including distraction, selective

recording of evidence, and reliance on inaccurate notes in a trial estimated to take six months but

actually lasting a year), overruled on other grounds, United States v. Nordby, 225 F.3d 1053 (9th

Cir. 2000); United States v. Darden, 70 F.3d 1507, 1536-37 (8th Cir. 1995) (“Note taking by jurors

is not a favored procedure. As we have stated, trial courts are properly concerned that the juror

with the most detailed notes, whether accurate or not, may dominate jury deliberations. . . . The

length and complexity of this trial does not diminish that concern. Indeed, in a long and complex

trial the juror with the better notes may more easily dominate deliberations.”); Cavanagh v.

LaManna, No. 05-cv-2842, 2007 WL 895473, at *3 (D.S.C. Mar. 21, 2007) (outlining arguments

against allowing juror notetaking, including the potential that a juror will “concentrate on their

own notes rather than the demeanor or manner of the witness,” and that “the jurors who take the

notes take a more important position in the minds of the jurors who didn’t take notes and they tend

to rely on those jurors rather than their own observation”).

       As these courts have acknowledged, lengthy, complex trials often pose the most risk with

respect to juror note-taking because of the risk that jurors, afraid of forgetting information given

the length of the trial, will focus more intently on note-taking than on their role as judges of the

credibility and believability of the witnesses. Moreover, given the length of the anticipated trial,




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there is another—perhaps greater—risk that those jurors who take more or better notes will become

the de facto keepers of the jury’s collective knowledge and leading other jurors to defer to those

note-takers’ interpretation of the evidence. Such deference is improper and undercuts the jurors’

obligation to judge the facts for themselves. See United States v. Brown, 508 F.3d 1066, 1074

(D.C. Cir. 2007) (approving a jury instruction indicating that jurors “are the sole judges of the

facts”). Furthermore, allowing jurors to take notes presents a risk that the jurors will improperly

discuss the evidence prior to the conclusion of the trial. See United States v. Lipscombe, Cr. No.

8:12-24-HMH, 2016 WL 4719999, at *2 (D.S.C. Jan. 21, 2016) (court admonished jurors for

sharing notes during trial); Evans v. Justin Jones, No. CIV 10-139, 2013 WL 5366385, at *28

(E.D. Okla. Sept. 24, 2013) (same). Accordingly, the jurors should be instructed that they are not

to take notes during the trial.




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                     Corporate Defendant Can Appear Through Counsel

       Concord and the government generally agree about this proposed instruction except that

the government opposes Concord’s proposal to include the following sentence: “A corporate

defendant may appear in court through its counsel who is present.”

       This disputed sentence parallels the language contained in the federal criminal rules as it

relates to a corporate defendant’s presence. See Fed. R. Crim. P. 43(b)(1) (providing that a

defendant need not be present when “[t]he defendant is an organization represented by counsel

who is present”). Given that Concord’s proposed addition simply reiterates the Federal Rule of

Criminal Procedure applicable to a defendant’s presence, the jurors should be instructed

accordingly. Without this instruction there is a risk that the jurors will develop a negative inference

because of the absence of a corporate representative.




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                                     Corporate Responsibility

          The parties generally agree on the formulation of this instruction, except for a single

sentence relating to when an act is within the scope of an agent’s employment. Concord’s position

is that the instruction should state that: “For an act to be within the scope of an agent’s employment,

it must relate directly to the performance of the agent’s general duties for the corporation.” The

government’s position is that the instruction should state that: “For an act to be within the scope

of an agent’s employment, it must concern a matter that the corporation generally entrusted to the

agent.”

          The government’s proposal is unacceptably broad and contrary to the accepted legal

standard in this Circuit, which requires that the action in question must “relate directly” to the

employee’s duties. See United States v. Burden, No. 14-CR-69, 2016 WL 5800423, Instruction 9

(D.D.C. Sept. 29, 2016) (instructing the jury on corporate responsibility by explaining that “[f]or

an act to be within the scope of an agent’s employment, it must relate directly to the performance

of the agent’s general duties for the corporation”). Concord’s proposed language tracks the

language in Burden to the letter.         The government’s proposed instruction on corporate

responsibility sweeps too broadly. Under it, an employee’s acts would fall within the scope of his

employment—and thus would be imputed to the corporation—if those acts merely “concern a

matter that the corporation generally entrusted to the agent.” ECF 248-1 at 8. This proposed

instruction is contrary to the well-settled law on corporate responsibility and risks imposing

liability on a corporation for conduct by its employees that falls outside the scope of their

employment duties, and thus should be rejected.

          In determining whether an employee acted within the scope of their employment, “the

Court of Appeals for the District of Columbia looks to the Restatement (Second) of Agency

(1957).” Haddon v. United States, 68 F.3d 1420, 1423 (D.C. Cir. 1995), overruled on other


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grounds, Osborn v. Haley, 549 U.S. 225 (2007). According to the Restatement, an employee’s

conduct falls within the scope of their employment if “(a) it is of the kind he is employed to

perform; (b) it occurs substantially within the authorized time and space limits; (c) it is actuated,

at least in part, by a purpose to serve the master, and (d) if force is intentionally used by the servant

against another, the use of force is not unexpectable by the master.” Restatement (Second) of

Agency § 228 (1958). An employee’s act must meet all of these criteria to fall within the scope

of their employment. See Haddon, 68 F.3d at 1424.

        The government’s proposed instruction—which only calls for the act to concern a matter

generally entrusted to the agent—completely disregards the first prong of the Restatement test and

inappropriately expands the universe of conduct that could potentially fall within the scope of

employment. There is a marked distinction between conduct related to a “matter . . . entrusted to

the agent” (as the government proposes) and conduct “of the kind [the agent] is employed to

perform” (as set forth in the Restatement). For example, the government alleges that Internet

Research Agency LLC “employed hundreds of individuals for its online operations . . . .” Sup.

Ind. ¶ 10. The nature of this employment necessarily results in those individuals being “entrusted”

with the use of computers and other internet-connected devices. Were the Court to issue the

government’s proposed instruction, the jury could potentially find any act that merely “concerns”

computers and internet connected devices to fall within the scope of those individual’s

employment, regardless of whether that conduct was “of the kind [the agent] was employed to

perform.”

        The government cites Burden but then takes liberties with the definition of what falls within

the scope of employment, relying instead on a pattern jury instruction from the Seventh Circuit.

While it should go without saying that instructions that have actually been given by this Court are




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more persuasive and legally accurate than out-of-circuit pattern jury instructions, it also appears

that the Seventh Circuit pattern jury instruction cited by the government is an aberration. The

Third and Eighth Circuits have published pattern jury instructions nearly identical to the one

Concord proposes here. S2 Modern Federal Jury Instructions-Criminal 5.03 (2019) (8th Circuit)

(“For an act to be within the scope of an agent’s employment it must relate directly to the

performance of the agent’s general duties for the corporation.”) (emphasis added); S1 Modern

Federal Jury Instructions-Criminal 7.06 (2019) (3rd Circuit) (“[T]he evidence must prove that the

act related directly to the general duties that (name of agent) (this type of agent) was expected to

perform by (name of corporate defendant).”) (emphasis added). And while the Second and Sixth

Circuits do not have pattern jury instructions on “Corporate Responsibility,” those courts have

described the scope of employment test in language similar to that proposed by Concord. See

Cont’l Baking Co. v. United States, 281 F.2d 137, 149 (6th Cir. 1960) (“the courts have held that

so long as the criminal act is directly related to the performance of the duties which the officer or

agent has the broad authority to perform, the corporate principal is liable for the criminal act also

. . . .”) (emphasis added); United States v. Koppers Co., 652 F.2d 290, 298 (2d Cir. 1981) (holding

instruction to jury “that a corporation could be held criminally liable for the acts of managerial

agents ‘done on behalf of and to the benefit of the corporation and directly related to the

performance of the duties the employee has authority to perform . . . .’” was proper) (emphasis

added).

          In other words, not only has a court in this District issued the jury instruction proposed by

Concord here, the clear weight of outside authority supports the propriety of Concord’s jury

instruction as well. Accordingly, the Court should adopt Concord’s proposed instruction, which




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properly focuses the jury on what duties the employee was hired to perform. This is the legal

standard, and is in line with the Restatement test and precedent from this Court.




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                    Suppression Or Fabrication Of Evidence By Defendant

        The government’s position is that an instruction regarding the suppression of evidence

should be given.1 Concord’s position is that there is no basis on which to include this instruction;

that this instruction should be given only if the evidence at trial merits it; and that if the instruction

is given it should refer only to “certain defendants” and/or “certain co-conspirators.”

        The government lacks a sufficient basis to argue that Concord engaged in suppression of

evidence to warrant giving this instruction. As Concord has previously argued, the only allegation

in either the Indictment or the Superseding Indictment regarding the destruction of evidence is a

reference to a single inadmissible email from one named defendant to her mother that was sent

after the Special Counsel was appointed and news of the allegations of election interference had

been reported worldwide.        See Ind., ECF 1, ¶ 58(d) (“On or about September 13, 2017,

KAVERZINA wrote in an email to a family member: ‘We had a slight crisis here at work: the FBI

busted our activity (not a joke). So, I got preoccupied with covering tracks together with

colleagues.’”); Sup. Ind., ECF 247, ¶ 58(d) (same); see also Oct. 25, 2019 Hr’g Tr. 12:3-15.

        Although the government points to this email as support of its destruction of evidence

claim, it actually proves the opposite—that is, the email account was successfully collected as part

of the government’s investigation, and thus was not destroyed. Moreover, Concord will show,

based on its own review of this same defendant’s emails, that the same individual frequently sent

misleading and outright false statements to her mother by email. Given this, the statement is not

only contradictory, but it is likely inadmissible. See Fed. R. Evid. 402 (indicating that irrelevant




1
      It appears that the government’s position is not limited to providing this instruction only if it
is applicable based on the evidence presented at trial.


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evidence is not admissible); see also United States v. Ali, 870 F. Supp. 2d 10, 17 (D.D.C. 2012)

(same).

          Absent this single email (which contains the sum total of the government’s specific

allegations of evidence destruction), Concord would be prejudiced if the jury were given

instructions suggesting that the defendants and their co-conspirators deleted and destroyed

evidence. See, e.g., United States v. Frady, 636 F.2d 506, 511-12 (D.C. Cir. 1980) (finding the

defendant suffered prejudice from the faulty malice instructions because the evidence produced at

trial suggested that the defendant acted without malice).

          In any event, this instruction should be included only if the evidence at trial warrants it.

And, to the extent that the evidence produced at trial does so, Concord’s position is that the

instruction should refer only to “certain defendants and certain co-conspirators” or to the specific

defendants and co-conspirators who engaged in such obstructive conduct by name, rather than

generally to all “the defendants and their co-conspirators” as the government proposes. This will

properly focus the jury only on those defendants/co-conspirators whose obstructive conduct is

supported by evidence, and will prevent jurors from improperly imputing such conduct to other

defendants.




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             Unanimity – Special and Verdict Form With Special Interrogatories

        Concord’s position is that this case warrants a special unanimity instruction.              The

government’s position is that a general unanimity instruction is sufficient.

        The conspiracy charge brought against Concord—although filed as a single count in the

Indictment—alleges a conspiracy to defraud the United States by impairing, obstructing, and

defeating the functions of three separate government agencies: the Federal Election Commission

(“FEC”), the U.S. Department of Justice (“DOJ”), and the U.S. Department of State (“DOS”).

Accordingly, the government alleges three distinct factual predicates—interference with the

function of the FEC, DOJ, or DOS, respectively—upon which a guilty verdict could lie. The

nature of this three-pronged conspiracy charge presents precisely the type of “genuine risk of juror

confusion or of conviction resulting from different jurors concluding the defendant committed

different acts” that requires a special unanimity instruction in order to protect Concord’s Sixth

Amendment right to a unanimous jury verdict. See United States v. Sayan, 968 F.2d 55, 65 (D.C.

Cir. 1992). The government has acknowledged this point in open court, conceding that in order to

convict, the jury must “be unanimous as to the lawful government function that’s interfered with.”

Oct. 15, 2018 Hr’g Tr. 29:7-9. Despite this clear-cut concession, the government inexplicably

continues to insist that a general unanimity instruction is sufficient and that a special verdict form

is unnecessary. Given the multiple theories under which the government is pursuing its conspiracy

charge, there is simply no way to ensure the jury’s unanimity as to Concord’s intent to impair,

obstruct, or defeat a particular government function without a special unanimity instruction and a

special verdict form.

        The D.C. Circuit has found that a rule “requiring an instruction on the need for unanimity

on the particular acts on which a guilty verdict is based . . . is sensible and appropriate” and “urge[s]

trial courts to employ the instruction without request . . . .” United States v. Mangieri, 694 F.2d


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1270, 1281 (D.C. Cir. 1982); United States v. Hubbard, 889 F.2d 277, 278 (D.C. Cir. 1989) (“This

Circuit strongly approved a District of Columbia Court of Appeals rule requiring an instruction on

the need for unanimity on the particular acts on which a guilty verdict is based.”) Where, as is the

case here, “several factual predicates support a guilty verdict, a defendant is entitled to unanimous

agreement among the jury as to which of those ‘alternative factual predicates’ provided a basis for

conviction.” United States v. North, 910 F.2d 843, 876 (D.C. Cir.), opinion withdrawn and

superseded in part on reh’g, 920 F.2d 940 (D.C. Cir. 1990).2

       Due to the multiple theories advanced by the government, a special unanimity instruction

is necessary to prevent jury confusion and a potentially wrongful conviction. That is because the

government “cannot rely on a composite theory of guilt, producing twelve jurors who unanimously

thought the defendant was guilty but who were not unanimous in their assessment of which act

supported the verdict.” United States v. Beros, 833 F.2d 455, 462 (3d Cir. 1987). For example,

after the trial, four jurors may find that Concord conspired to interfere with the function of the

DOS, four jurors may find that Concord conspired to interfere with the function of FEC, and four

jurors may find that Concord conspired to interfere with the function of the DOJ. With a general

unanimity instruction, the jury may nevertheless vote to convict Concord of violating § 371 despite

the fact that the jury could not unanimously agree that Concord intentionally conspired to defraud

a single one of the federal agencies in question. Such an instruction violates Concord’s right to a

unanimous jury verdict because it would permit the jury to convict Concord “even though there



2
     Although an en banc court reversed its original finding that the trial court’s refusal to issue
a specific unanimity instruction was erroneous, the court’s reversal was due to the fact that “the
majority opinion . . . failed to note that the district court had instructed the jury to limit its
consideration to a single incident . . . .” United States v. North, 920 F.2d 940, 951 (D.C. Cir. 1990).
As such, the original opinion’s statement of the law on specific unanimity remains instructive.



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may have been significant disagreement among the jurors as to what [Concord] did.” United States

v. Gipson, 553 F.2d 453, 458–59 (5th Cir. 1977).

       Put differently, it is simply not enough for the jury to unanimously agree that Concord

engaged in some conspiracy to interfere with some government function. See United States v.

Mastelotto, 717 F.2d 1238, 1247–48 (9th Cir. 1983), abrogated on other grounds by United States

v. Miller, 471 U.S. 130 (1985) (“The requirement of trial by jury demands not merely agreement

among the jurors that the defendant did participate in some scheme to defraud, whatever the

scheme, but also unanimous agreement that the defendant participated in one particular fraudulent

scheme.”); United States v. Payseno, 782 F.2d 832, 837 (9th Cir. 1986) (holding that general

unanimity instruction was improper because of “genuine possibility that some jurors may have

believed [defendant] used extortionate means on one occasion while others may have believed that

he was guilty of engaging in extortion at a different time and place”). As the government concedes,

the jury must also unanimously agree on the specific lawful government function that Concord

interfered with. Oct. 15, 2018 Hr’g Tr. 29:7-9.

       For these same reasons, the Court should adopt the verdict form with special interrogatories

proposed by Concord.3 While special interrogatories in a criminal case are generally disfavored,

the use of special interrogatories is advisable where the offense charges is particularly complex

and “require[s] proof of a specific number of predicate facts.” United States v. Ogando, 968 F.2d



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       The government has elected not to propose a verdict form with special interrogatories, and
instead “ask[s] for leave to propose an alternative to Concord’s Proposed Verdict Form” at a later
time. ECF 248-1 at 15. In the event that the Court determines that a special unanimity instruction
is necessary, the government’s failure to propose a verdict form should be deemed a waiver, and
the Court should adopt Concord’s proposed verdict form. The Court directed the parties “jointly
file a proposed verdict form and proposed jury instructions.” Sept. 5, 2019 Minute Order. The
Court did not direct the parties to submit proposals in a piecemeal fashion, as the government
proposes.


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146, 149 (2d Cir. 1992). This is particularly true in a conspiracy case where “the multiplicity of

objects afforded by the indictment might make a compromise verdict possible,” rendering a special

verdict form necessary to ensure that the verdict is reached unanimously. United States v.

Recognition Equip., Inc., 711 F. Supp. 1, 6 (D.D.C. 1989); see also United States v. Shorter, 608

F. Supp. 871, 881 (D.D.C. 1985) (noting court’s intention to instruct jury with special

interrogatories to “protect against the danger that . . . [defendant] will be convicted not on the basis

of one unanimous verdict on a single set of facts”). Without a special verdict form, it would be

impossible to determine which, if any, lawful government function the jury unanimously

determined Concord interfered with. See, e.g. Gipson, 553 F.2d at 459.

        What is more, the principle that disfavors the use of special interrogatories in criminal cases

is meant to protect the criminal defendant’s right to a unanimous jury verdict. See United States

v. Acosta, 149 F. Supp. 2d 1073, 1076 (E.D. Wis. 2001) (“Because the protections of a general

verdict run to the defendant . . . a properly advised defendant may waive any right to a general

verdict.”).   Because Concord is the party requesting the use of special interrogatories, the

considerations that normally militate against the use of special interrogatories are simply not

present here.

        For these reasons, the Court should issue a special unanimity instruction and the special

verdict form proposed by Concord.




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                                     Proof of State Of Mind

       The government proposes giving the standard instruction 3.101 regarding proof of state of

mind. Concord’s position is that this instruction is inappropriate for a corporate defendant.

       The government’s proposed pattern instruction is inappropriate for a corporate defendant

and will open the door for the jury to impose lability based on a legally-improper finding of

“collective intent.” See United States v. Phillip Morris, USA, Inc., 566 F.3d 1095, 1118-22 (D.C.

Cir. 2009) (“Because a corporation only acts and wills by virtue of its employees, the proscribed

corporate intent depends on the wrongful intent of specific employees.”) (citing Saba v.

Compagnie National Air France, 78 F.3d 664, 670 (D.C. Cir. 1996)). Thus, when determining

whether a corporation acted with specific intent, courts refer to the state of mind of the specific

corporate officers and employees who were involved in the charged conduct. Id.

       Instead of focusing on the state of mind of specific employees who were involved in the

charged conduct, the government’s proposed instruction broadly allows the jurors to “consider any

statement made or acts done or omitted by the alleged conspirators, and all other facts and

circumstances received in evidence which indicate their intent and knowledge.” ECF 248-1 at 16.

The D.C. Circuit and other courts have expressed doubt about the viability of any such theory. See

Phillip Morris, USA, 566 F.3d at 1122 (“Like Defendants and other courts, we are dubious of the

legal soundness of the ‘collective intent’ theory.”) (citing Saba, 78 F.3d at 670 n.6 (“corporate

knowledge of certain facts [can be] accumulated from the knowledge of various individuals, but

the proscribed intent (willfulness) depend[s] on the wrongful intent of specific employees”);

Southland Sec. Corp. v. INSpire Ins. Solutions Inc., 365 F.3d 353, 366 (5th Cir. 2004); Nordstrom,

Inc. v. Chubb & Son, 54 F.3d 1424, 1435 (9th Cir. 1995); United States v. Bank of New Eng., N.A.,




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821 F.2d 844, 855 (1st Cir. 1987); Woodmont, Inc. v. Daniels, 274 F.2d 132, 137 (10th Cir. 1959);

and First Equity Corp. v. Standard & Poor’s Corp., 690 F. Supp. 256, 260 (S.D.N.Y. 1988)).

       Accordingly, the Court should reject the government’s proposed instruction because it

impermissibly allows the jury to aggregate the state of mind of multiple individuals in an effort to

find the requisite state of mind for Concord. This misstates the law. See United States v. Science

Applications Int’l Corp., 626 F.3d 1257, 1274 (D.C. Cir. 2010) (“In non-FCA cases, we have

expressed a good deal of skepticism about corporate intent theories that rely on aggregating the

states of mind of multiple individuals.”). To the extent a proof of state of mind instruction is

required by the Court, the jurors should be instructed to refer to the state of mind of the individual

corporate officers and employees who were involved in the charged conduct to determine whether

Concord possessed specific intent.




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                                             Good Faith

       Concord’s position is that the Court should provide a good faith instruction regardless of

whether Concord chooses to present evidence at trial. The government’s position is that a good

faith instruction should be included only if the evidence at trial merits it.

       Because the government bears the burden of establishing the absence of good faith beyond

a reasonable doubt, see United States v. Hurt, 527 F.3d 1347, 1351-52 (D.C. Cir. 2008), and

because the intent to defraud is an essential element of the conspiracy charge, the jury should be

instructed that it must acquit if it finds that Concord was acting in good faith. See Ex. 1, United

States v. Middendorf, 18-cr-36 (JPO) (S.D.N.Y.), Jury Charge; see also United States v. Coughlin,

610 F.3d 89, 98 (D.C. Cir. 2010) (affirming mail fraud conviction where district court gave good

faith instruction); Hurt, 527 F.3d at 1352 (“The district court made abundantly clear that the jury

must acquit Hurt if they believed that he had a good faith but mistaken belief that the money was

his.”); United States v. Bowser, 318 F. Supp. 3d 154, 175-76 (D.D.C. 2018) (giving good faith

instruction in context of a prosecution for making false statements); cf. Richardson v. United

States, 403 F.2d 574, 575-76 (D.C. Cir. 1968) (“A defendant is not guilty of robbery unless he has

a specific intent to take the property of another. . . . Viewing the evidence most favorably to the

defendant, . . . [he] believed in good faith that he was entitled to the money. If so, he did not have

that specific intent. We therefore find that the requested instruction should have been given.”).

       Although the government will argue that a good faith instruction is unnecessary absent

evidence of good faith presented at trial, its position ignores the government’s burden to prove a

lack of good faith—regardless of whether Concord presents such evidence. See Bowser, 318 F.

Supp. 3d at 176 (“The burden of establishing lack of good faith and criminal intent rests on the

government. A defendant is under no burden to prove his good faith; rather, the government must

prove bad faith or knowledge of falsity beyond a reasonable doubt.”) (internal quotation marks


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omitted). Given the centrality of the intent element in this case, and the fact that the government

bears the burden of proving an absence of good faith, this concept should be put in front of the

jury regardless of whether Concord choses to present a defense at trial.

       Similarly, while the government may argue that some courts of appeals have countenanced

trial courts’ decisions to not give a good faith instruction where the jury is adequately instructed

on the intent element, other courts have found reversible error. See United States v. Casperson,

773 F.2d 216, 223-24 (8th Cir. 1985) (“Nor do we believe that the error was harmless in the context

of this case. The trial was long and complex . . . . The evidence of guilt was not overwhelming. .

. . In the circumstances, we cannot say that the trial court’s failure to draw the jury’s attention to

appellants’ [good faith defense] was harmless beyond a reasonable doubt.”). Accordingly other

courts have avoided such error by simply including a good faith instruction. See, e.g., United

States v. Allen, 670 F.3d 12, 17 (1st Cir. 2012) (approving instruction in § 371 defraud clause

conspiracy that stated: “[i]n proving willfulness, it is the government’s burden to prove beyond a

reasonable doubt that the defendant did not act with a good faith belief as to what the law required

of him. If you find the defendant believed in good faith he or she was acting in compliance with

the law as to any count, you must find him or her not guilty as to that count.”); United States v.

Molinaro, 11 F.3d 853, 863 (9th Cir. 1993) (approving good faith instruction in bank fraud case).




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                                            Conspiracy

       Despite the drastically different formats of the proposed Conspiracy instruction, the parties

generally agree about the substance of much of this instruction. The disputes are addressed

individually below.

       INTRODUCTION

       Concord’s proposal includes identifying in the introductory paragraph the three agencies

the functions of which the government alleges the conspiracy intended to impede.                The

government’s proposal does not refer to these agencies until the section entitled “Objects of the

Conspiracy.” Concord believes these agencies should be identified earlier in the instruction so

that the jurors can understand in appropriate context the specific agencies to whom the

conspirators’ alleged conduct was purportedly directed.

       Further, Concord’s proposal explains the concept of “defrauding the United States” using

the language in the Indictment—“impair[], obstruct[], and defeat[] the lawful function of” a

department of the government. Compare Concord’s Proposed Conspiracy Instruction with Sup.

Ind. ¶¶ 2, 9, 28 (alleging conspiracy “to defraud the United States by impairing, obstructing, and

defeating” the lawful functions of the government). By contrast, the government’s proposal

includes “to cheat the United States government or any of its agencies out of money or property.”

While this is, of course, included in the definition of the crime of defrauding the United States, it

has nothing to do with the allegations in this case and there is no reason to introduce the concept

to the jury. Further, the government’s proposal defines defrauding the United States using the

terminology “obstruct or interfere” with a lawful government function. This is the terminology

used in the Third Circuit’s model instruction, but it is not the terminology used in the Superseding

Indictment.




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       The parties generally are in agreement with respect to the following concepts for this

section of the instruction:

              Concord is charged with conspiring to defraud the United States;
              It is against the law to agree with someone to commit the crime of defrauding the
               United States;
              Defrauding the United States requires “deceit, craft, trickery or dishonest means”;
              The government is not required to prove that the objective was achieved.

       ESSENTIAL ELEMENTS OF THE CONSPIRACY

       Again, the parties agree as to some portion of this section of the instruction, but disagree

as to significant components.

       First Element4

       The parties agree that the first essential element of a conspiracy is an agreement. The

parties disagree about the timeframe to be included in the instruction. Concord proposes using the

timeframe “From in or around 2014 until November 8, 2016.” The government proposes using

the timeframe “between in and around 2014 until February 28, 2018.” Concord’s position is based

on the fact that the Indictment alleges that the conspiracy was aimed at interfering with U.S.

political and electoral processes, including the presidential election of 2016, Sup. Ind. ¶¶ 2, 3, 4,

6, 10, 14, 28, 42-48, see also, id. ¶¶ 20, 22, 57, (referring to 2016 U.S. presidential election).

Because the Indictment alleges that the conspiracy was aimed at the 2016 presidential election, the



4
      The government’s proposal includes in the first element the following language from the
D.C. pattern instruction: “This does not have to be a formal agreement or plan, in which everyone
involved sat down together and worked out the details. On the other hand, merely because people
get together and talk about common interests, or do similar things, does not necessarily show that
an agreement exists to defraud the United States. It is enough that the government proves beyond
a reasonable doubt that there was a common understanding among those who were involved to
commit the crime of defrauding the United States.” Concord’s proposal includes identical
language to be included in a different element of the conspiracy charge—that Concord joined the
agreement. Concord believes that the language more logically fits in that portion of the instruction,
but does not object to the inclusion of this language wherever the Court deems most appropriate.


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jury should be instructed that the conspiracy ended on that date. The Indictment contains no

allegations against the co-conspirators that could even arguably be unlawful except for those

related to the 2016 election.

        In any event, the government’s proposed end date of February 28, 2018 is categorically

incorrect. First because the Original Indictment was obtained on February 16, 2018, and there is

no reason to extend the date of the conspiracy beyond that date. Even more significantly, the

Superseding Indictment itself alleges that the conspiracy ended in or around January 2018. Sup.

Ind. ¶ 2.

        The parties further disagree about whether the first element of the conspiracy charge should

include a reference to the FEC, DOJ, and DOS—the agencies that the conspiracy allegedly

intended to interfere with. Concord’s proposal is to instruct the jury that an agreement existed to

commit the crime of defrauding the United States, specifically the FEC, DOJ, and DOS, and that

the government must prove beyond a reasonable doubt that Concord had the specific intent to

impair, obstruct, or defeat the lawful functions of those particular agencies. The Court has already

agreed that this is what the government must prove at trial, see Oct. 15, 2019 Hr’g Tr. 27:13-17

(Court stating “I agree, at trial, if this case survives, [the government is] going to have to show that

Concord and others conspired and had the specific intent to defraud the FEC, the DOJ, and the

State Department”), and the jury should be so instructed. The government’s proposed instruction

entirely omits this element of the charge, and instead only generally states that “[i]t is enough that

the government proves beyond a reasonable doubt that there was a common understanding among

those who were involved to defraud the United States.” This proposal is not sufficiently specific

as to the definition of “defraud the United States” as alleged in this case, and it does not adequately

capture the burden of proof that the Court has already found must be met.




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       Apart from that, as all agree, the Superseding Indictment charges a “Klein conspiracy”5 to

defraud under § 371 that allegedly implicates federal elections and political speech. Where, as

here, complex regulatory schemes are implicated, free speech considerations are in play, and the

threat of criminalizing innocent conduct is high, a court must ensure, to the greatest extent possible,

that conspiracy jury instructions will ensnare only actual unlawful conduct driven by knowing

criminal intent.6

       Based on this imperative, Concord proposes instructing the jury that the conspirators need

to have known about the specific statutes creating the “functions” with which the conspirators

allegedly conspired to interfere, acted intentionally to violate those statutes, and that their conduct

was unlawful under those statutes. “Knowingly” and “intentionally” is the language used in the

Indictment, Sup. Ind. ¶¶ 2, 9, and the burden of proof Concord proposes is necessary because

Rehaif v. United States, 139 S. Ct. 2191 (2019), and United States v. Burden, 934 F.3d 675 (D.C.




5
      The term “Klein conspiracies” originates from the Second Circuit’s decision in United States
v. Klein, 247 F.2d 908 (2d Cir. 1957), where the court of appeals—without any textual support—
held that § 371 criminalizes conspiracies not only directed at “cheating … the government out of
property or money” but also those aimed at “interfer[ing] with or obstruct[ing] one of [the
government’s] lawful governmental functions by deceit, craft or trickery, or at least by means that
are dishonest.’” Id. at 916 (quoting Hammerschmidt v. United States, 265 U.S. 182, 188 (1924)).
Although the Supreme Court held in Hammerschmidt that § 371 extends to conspiracies to defraud
aimed at interfering with “lawful governmental functions” even where the government is not
deprived of “property or money,” that atextual interpretation is plainly wrong as a matter of
statutory construction, see United States v. Coplan, 703 F.3d 46, 59–62 (2d Cir. 2012), and has
been eroded by more recent Supreme Court decisions that hew more closely, as they should, to the
text of criminal statutes, id.
6
      In its motions to dismiss, Concord has maintained that a willfulness standard should be
adopted to comport with administrative, statutory and constitutional norms. ECF 210 at 31-45;
ECF 256 at 34-43. This Court has rejected such a requirement for this § 371 conspiracy. Concord
reiterates, for reasons it has noted, that a willfulness standard should be utilized in the instructions
given here. It makes this point for preservation purposes in light of this Court’s rulings.


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Cir. 2019), read together, demand strict adherence to a knowing and intentional mens rea

requirement in the circumstances of this case.7

       To begin with, the risk of punishing innocent conduct is already great in the mine run of

conspiracy cases, and greater still in § 371 defraud clause conspiracy cases. See Dennis v. United

States, 384 U.S. 855, 860 (1966). It is especially high where, as here, the government’s case rests

on the Defendants’—and certain unwitting foreign nationals’ status and purported failures to act—

conduct that would not, if engaged in by a U.S. citizen, violate FECA or FARA. That conduct is

also charged under arcane and obscure statutes and regulations that impose duties that themselves

require proof of willfulness or knowledge of the law itself and the unlawfulness of one’s actions

before criminal sanctions can be attached for violations of their requirements. Moreover, now that

the government has fully spelled out a theory that the conspirators caused unwitting foreign

nationals, who failed to register with DOJ under FARA, to post and purchase advertisements, the

need for Concord’s proposed instruction is magnified further still. This conduct does not, and

could not, violate the plain terms of FARA either. ECF 256 at 43–45. Here, the risk of punishing

innocent conduct is both apparent and real.

       In these circumstances, Rehaif, Burden, and like precedents make clear that the government

must “establish that the defendant knew it violated the material elements of” § 371—just as

Concord’s proposed instruction provides. As Burden would say, mens rea must be “calibrated” to

the statutes involved. 938 F.3d at 690. A knowing and intentional requirement is imposed to

ensure that a defendant understands the wrongful nature of its alleged act. A “mature system of


7
      The government seemingly argued in previous briefs that Rehaif does not apply because there
the statute contained the word knowingly as opposed to 371 which contains no mens rea. ECF
266 at 18-20. But the government provides no authority to limit the holding in Rehaif, and only
to apply that knowingly standard where the statute contains the word—as opposed to the word
being used in the indictment. Certainly the language in Rehaif provides no such limitation.


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law” reads this requirement in as necessary in a case like this one. Rehaif, 139 S. Ct. at 2196

(citation and internal quotation marks omitted).

       Moreover, here, as in Rehaif, the maxim ignorance of the law is no excuse has no place

because the relevant “ignorance of the law”—ignorance of both the specific statutes and

regulations with which the government claims Concord conspired to interfere, and of the legal

duties that flow from Concord’s status—“‘concern[s] the legal effect of some collateral matter”

which would “result[] in [a] misunderstanding [of] the full significance of” the conduct alleged,

and “thereby negat[e] an element of the [§ 371] offense”: interference with a lawful governmental

function. Rehaif, 139 S. Ct. at 2198 (citation and internal quotation marks omitted). For these

reasons, too, the knowing and intentional requirement Concord advances should be included.

       This Court, in Bluman v. FEC, 800 F. Supp. 2d 281, 292 (D.D.C. 2011), made this very

point. It explicitly “caution[ed] the government that seeking criminal penalties for violations of

[laws regulating foreign nationals’ political contributions or expenditures] will require proof of

defendant’s knowledge of the law.” See United States v. Moore, 612 F.3d 698, 704 (D.C. Cir.

2010) (Kavanaugh, J., concurring), aff’d, 568 U.S. 1104 (2012) (explaining that “the Supreme

Court’s precedents arguably require district courts in [18 U.S.C.] § 1001 cases to give a willfulness

instruction that requires proof that the defendant knew his conduct was a crime”). Just as “[t]here

are many aliens in this country who no doubt are unaware of the statutory ban on foreign

expenditures,” Bluman, 800 F. Supp. 2d at 292, there are many aliens—inside this country and

out—who no doubt are unaware of the complex and technical requirements of campaign-finance

laws, the FECA, and the FARA.8 This complexity supports a heightened mens rea standard for a



8
     See Citizens United v. FEC, 558 U.S. 310, 334 (2010) (“Campaign finance regulations now
impose ‘unique and complex rules’” (citation omitted)); Covington Alert, The Foreign Agents
Registration Act (“FARA”): A Guide for the Perplexed (July 27, 2019), available at


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foreign national who is implicated in a conspiracy that is based on statutes the foreign national

doesn’t know exist, and on conduct that does not even violate those statutes.

        Similarly, in United States v. Trie, even though the conspiracy to defraud count did not use

the word “willful,” this Court required willfulness as part of a criminal indictment under § 371 in

the context of an alleged election conspiracy. 21 F. Supp. 2d 7, 15 (D.D.C. 1998). In count one

of the indictment there, the government alleged that the defendant conspired to defraud the United

States under § 371 by making various fraudulent contributions without satisfying applicable

reporting obligations. Id. at 13. Defendant moved to dismiss the § 371 count on grounds that the

government was required to prove the defendant knew of the reporting obligations. Based in part

on the complexity of the federal election laws invoked and its concern—consistent with due

process—that innocent conduct might be ensnared, the court concluded that the government was

required to show the “defendant knew of the [political party] treasurers’ reporting obligations, that

he attempted to frustrate those obligations, and that he knew his conduct was unlawful.” Id. at 14;

see United States v. Licciardi, 30 F.3d 1127, 1132 (9th Cir. 1994) (court applied a willfulness

standard to the § 371 defraud conspiracy relating to federal regulations on the labelling of wine to

show the requisite intent to frustrate federal regulations implemented by AFT); United States v.

Nersesian, 824 F.2d 1294 (2d Cir. 1987) (holding that government had to prove in § 371 defraud-

clause case that defendant “had specific knowledge of the reporting requirements and intended to

cause them to be evaded”) (citations omitted). That level of familiarity likewise is precisely what

is required in this case.




https://tinyurl.com/sahpcpy (FARA is a “famously vague criminal statute”—“complicated, arcane,
and loosely worded”); see also United States v. Craig, 401 F. Supp. 3d 49, 83–84 (D.D.C. 2019)
(dismissing FARA criminal count under rule of lenity due to ambiguity in provisions).


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        Inserting a knowing and intentional mens rea requirement into the conspiracy instruction

is appropriate for a number of additional reasons that further constitutional requirements and the

interests of justice:

        First, Klein conspiracy cases like this one raise a precipitous “danger that prosecutors may

use [§ 371] to punish activity not properly within the ambit of the federal criminal sanction.”

United States v. Shoup, 608 F.2d 950, 955–56 (3d Cir. 1979); see United States v. Minarik, 875

F.2d 1186, 1191 (6th Cir. 1989) (observing that the “problem” of “loose interpretations of criminal

fraud statutes which allow the fact situation to define the crime . . . is particularly acute under the

‘defraud’ clause of § 371 because Hammerschmidt stripped the word ‘defraud’ of its common law

roots . . . .”); United States v. Rosenblatt, 554 F.2d 36, 41 n.6 (2d Cir. 1977) (noting the “[t]he

potential for abuse in allowing the government to manipulate prosecution by easy access to the

conspiracy-to-defraud clause is clear”).

        “To punish a person because he has done what the law plainly allows him to do is a due

process violation of the most basic sort[.]” Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978)

(citation omitted). A knowing and intentional mens rea requirement thus is needed to avoid such

an unconstitutional outcome. See United States v. X-Citement Video, Inc., 513 U.S. 64, 78 (1994)

(reading statute to require mens rea to avoid constitutional problem of criminalizing innocent

conduct); Liparota v. United States, 471 U.S. 419, 425 n.9 (1985) (requiring knowledge that

defendant knew his use of food stamps violated the law where the statute at issue required proof

that stamps were used in a “manner not authorized by the statute or regulations”) (reaffirmed and

discussed approvingly by Rehaif, 139 S. Ct. at 2198); cf. United States v. Rafiekian, No. 1:18-cr-

457-AJT-1, 2019 WL 4647254, at *18 (E.D. Va. Sept. 24, 2019) (conditionally granting new trial

on § 371 conspiracy conviction where jury was required to be (but was not) instructed that “the




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Government must prove not only that the [underlying conduct] the defendant was engaged in was

illegal [under the offense-defining statute] but also that the defendant knew it was illegal[,]” an

instruction necessary to prevent “‘criminaliz[ing] a broad range of apparently innocent conduct’”)

(quoting Liparota, 471 U.S. at 426).

       A knowing and intentional requirement further comports with the need to prove specific

intent in conspiracy cases generally. As the D.C. Circuit has explained, the “‘law of inchoate

offenses such as attempt and conspiracy[]’” requires a “‘heightened mental state [which] separates

criminality itself from otherwise innocuous behavior.’” United States v. Childress, 58 F.3d 693,

707 (D.C. Cir. 1995) (quoting United States v. Bailey, 444 U.S. 394, 405 (1980)). Conspiracies,

therefore are “‘specific intent’ crime[s]” that, at a minimum, “require[] proof of specific intent to

. . . advance or further the unlawful object of the conspiracy.’” Id. at 707–08 (citation omitted);

see also United States v. Wilson, 160 F.3d 732, 737 (D.C. Cir. 1998) (conspiracy requires “‘an

agreement . . . to commit a specific offense” and “‘knowing[] participat[ion] in the conspiracy with

the intent to commit the offense’”) (citation and omitted).

       Second, for many of the same reasons just noted, a knowing and intentional requirement

is needed to satisfy basic constitutional requirements of fair notice. “A fundamental principle in

our legal system is that laws which regulate persons or entities must give fair notice of conduct

that is forbidden or required.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012)

(citation omitted). Due process “guarantees that ordinary people have ‘fair notice’ of the conduct

a statute proscribes” and “guards against arbitrary or discriminatory law enforcement by insisting

that a statute provide standards to govern the actions of police officers, prosecutors, juries, and

judges.” Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018) (citations omitted); see Fox Television




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Stations, 567 U.S. at 253 (“This requirement of clarity in regulation is essential to the protections

provided by the Due Process Clause of the Fifth Amendment.”) (citation omitted).

       By parity of reasoning, inclusion of a heightened knowledge requirement follows from the

“rule of lenity,” “a sort of ‘junior version of the vagueness doctrine,’” which directs that criminal

statutes be applied “only to conduct clearly covered.” United States v. Lanier, 520 U.S. 259, 266

(1997) (citations omitted); see Yates v. United States, 135 S. Ct. 1074, 1088 (2015) (plurality)

(invoking the rule that ambiguity should be resolved in favor of lenity). The “rule of lenity ensures

that criminal statutes will provide fair warning concerning conduct rendered illegal and strikes the

appropriate balance between the legislature, the prosecutor, and the court in defining criminal

liability.” Liparota, 471 U.S. at 427. In keeping with due process, the rule of lenity, and the

safeguards they are intended to further, a knowing and intentional mens rea requirement is needed

here precisely because the “proliferation of statutes and regulations sometimes ma[kes] it difficult

for the average citizen to know and comprehend the extent of the duties and obligations imposed

by . . . law[].” Cheek v. United States, 498 U.S. 192, 199–200 (1991); see Ratzlaf v. United States,

510 U.S. 135, 149 (1994) (analyzing criminal cash-deposit “structuring” cases).

       Third, until this case, the government itself—and the United States Attorney’s Office for

the District of Columbia in particular (ECF 256 at 9–11)—agreed that election-based § 371

defraud conspiracies like the one charged here required a showing readily analogous to the

knowing and intentional requirement as described in Concord’s proposed instruction. There is no

reason to abandon that requirement now—and every reason to strictly adhere to it. In the 2017

edition of its “Guidelines for Federal Prosecution of Election Offenses,” the DOJ made clear that

charges of conspiracy to defraud under § 371 based on election offenses require proof that the

defendant “was aware that his or her conduct was generally unlawful” and “must also show that




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the defendant intended to disrupt and impede the lawful functioning of the FEC.” See Dep’t of

Justice, Federal Prosecution of Election Offenses, 162–63 (Dec. 2017 8th Ed.) (the “DOJ

Guidelines”) (emphasis added). Thus, the Guidelines require proof that the defendant intended to

disrupt and impede the FEC in addition to willfulness, defined as the awareness of unlawfulness

required for an underlying offense of FECA. The Guidelines specifically note that this standard

is “a higher factual burden than is required under 18 U.S.C. § 1001,” which requires proof that a

defendant act “knowingly and willfully; that is, the defendant intended to cause the recipient to

record false statements and knew, generally, that making such a false statement as unlawful.” Id.

at 162–63.

       Fourth, a knowing and intentional requirement likewise should be mandated because, as

Concord’s motion to dismiss makes clear (ECF 256 at 29), the government patently is “cloak[ing]”

an offense-clause charge—predicated on FECA and FARA—in the guise of a defraud-clause one.

See United States v. Bridges, 346 U.S. 209, 223–24 (1953) (rejecting government’s attempt to use

defraud clause as a “cloak” to avoid adverse consequences of charging under the offense clause);

see also Rosenblatt, 554 F.2d at 41 (rejecting government’s contention that it was free to elect

between the clauses “in cases where they overlap, in such a way as to produce the most favorable

result” for the government); Dennis, 384 U.S. at 863 (accepting government’s charge under

defraud clause instead of offense clause, but only because the defraud allegation there “properly

reflect[ed] the essence of the alleged offense” and, unlike the charge here, did “not involve an

attempt by prosecutorial sleight of hand to overcome” a limitation on the government were it to

make an offense-clause charge). Controlling precedent forbids this sort of charging work-around.

At a minimum, where the government pursues such circumvention at the charging stage (and

beyond) for the apparent purpose of avoiding a heightened mens rea burden of proof, the




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government should be held to the mens rea standard that would indisputably apply had it properly

charged the case. Here, the proper charge should be analogous to an offense-clause conspiracy

under § 371, with a knowing and intentional mens rea requirement adopted for this reason.

        Fifth, a knowing and intentional requirement also is needed because it is not enough that

the defendant allegedly conspired to take some generic action or even conspired to defraud a

private actor and, in doing either, engaged in deception that foreseeably hindered the government’s

lawful functions. To the contrary, there is no criminal violation of § 371 unless an object of the

conspiracy was the use of deception to interfere with the government’s lawful function. Thus, as

the Supreme Court explained in Tanner v. United States, 483 U.S. 107 (1987): “[t]he conspiracies

criminalized by § 371 are defined not only by the nature of the injury intended by the conspiracy,

and the method used to effectuate the conspiracy but also—and most importantly—by the target

of the conspiracy.” Id. at 130. “Section 371 covers conspiracies to defraud ‘the United States or

any agency thereof,’ a phrase that [even] the Government concedes fails to describe [private

parties].”   Id.   Following Tanner, courts repeatedly have acknowledged that the purported

deception of the United States government “has to be a purpose or object of the conspiracy, and

not merely a foreseeable consequence of the conspiratorial scheme.” United States v. Goldberg,

105 F.3d 770, 773 (1st Cir. 1997) (citing Dennis, 384 U.S. at 861). The knowing and intentional

requirement Concord proposes is needed in this case to meet the standard Tanner demands.

        Sixth, and finally, without a requirement that Concord knew about the specific statutes and

regulations with which it is alleged to have interfered, and knew its (or its conspirators) status

imposed duties that they breached in violation of those statutes and regulations, the threat of

tactical and discriminatory enforcement of § 371 by the government far exceeds what the

Constitution can tolerate. See Kincaid v. Gov’t of Dist. of Columbia, 854 F.3d 721, 729 n.2 (D.C.




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Cir. 2017) (Kavanaugh, J.) (“Selectivity in the enforcement of criminal laws is, of course, subject

to constitutional constraints.”) (quoting United States v. Batchelder, 442 U.S. 114, 125 (1979));

ECF 256. Concord cannot, consistent with principles of fairness and neutrality embedded in due

process, be singled out for prosecution without a critical element of the burden of proof for

purported violation of the election-related statutes on which the government’s charge is based.

       For all the forgoing reasons, Concord proposes that the conspiracy instruction should

include the following:

       For Concord to have acted knowingly and intentionally the government must prove
       beyond a reasonable doubt (1) that Concord specifically agreed with others to
       defraud the FEC, DOJ and/or DOS, (2) there was a legal duty on the co-conspirators
       or unwitting persons to provide certain specific information to the FEC, DOJ and
       DOS that was not provided, (3) that Concord knew that the co-conspirators’ or
       unwitting foreign nationals’ status as foreign persons and foreign entities created a
       duty to disclose certain specific expenditures to the FEC, to possibly register at the
       DOJ FARA Unit and to provide certain specific information on visa applications to
       the DOS, and (4) that Concord knew that its, the co-conspirators’, or unwitting
       persons’ failure to disclose certain information was a violation of U.S. law for
       which Concord could be charged and prosecuted.

ECF 248-1 at 19.9

       Second Element

       Concord proposes that the second element of the conspiracy charge instruct the jury that

Concord and the co-conspirators had an affirmative duty to disclose specific information to the

FEC, DOJ, and/or DOS. The Court has previously acknowledged that the government probably

would have to prove such a duty at trial in order to establish that any failure to report or disclose



9
      Because the government’s unwitting person FARA theory appeared more specifically in the
Superseding Indictment—which was docketed the same day the parties’ Proposed Jury
Instructions were filed—Concord’s proposed conspiracy instruction did not account for that
theory. Concord therefore proposes a slight revision to its proposed conspiracy instruction, as
reflected above. Concord’s proposal is that this summary replace the summary that appears on
page 19 of the Parties’ Proposed Jury Instructions, ECF 248-1.


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constituted deceit. See Nov. 15, 2018 Mem. Op., ECF 74, at 15 (“When coupled with a duty to

report, the various acts of deception immediately directed a private parties become relevant as a

way to avoid detection for failing to comply. But it is difficult to see how the defendants’ deception

would impair agencies’ ability to ‘administer’ disclosure requirements if those requirements did

not apply to the defendants’ conduct.”). Furthermore, the Court has already held that the

Indictment alleges a duty to register and/or report, and so while this element may not be necessary

in all § 371 defraud conspiracies, it should be included in the instruction in this case. See id. (“To

be sure, not all conspiracies to defraud the United States by impairing the lawful functions of the

FEC and DOJ must allege a duty to report or register. But because this indictment alleges a

conspiracy to impair those agencies’ functions of ‘administering federal requirements for

disclosure,” Indictment ¶ 9, the government may ultimately have to prove that the defendants

agreed to a course of conduct that, if carried out, would require disclosure to the FEC or DOJ.”)

See also, id. at 10 (“a failure to disclose information can only be deceptive—and thus serve as the

basis for a § 371 violation—if there is a legal duty to disclose the information in the first place”).

       Instead of including a duty to disclose or report as an element of the conspiracy, the

government proposes including a vague and confusing instruction: “If you conclude that a duty to

disclose is relevant to your decision about whether Concord conspired to defraud the United States,

there are two duties to disclose that are at issue in this case.” Instead of completing this proposed

instruction, the government states that it anticipates that the evidence at trial will establish two

legal duties to disclose information and proposes deciding language regarding this aspect of the

jury instruction after the parties have exchanged exhibit lists. With this proposal, the government

again fails to follow the Court’s order regarding the submission of jury instructions and takes it

upon itself to modify the Court’s pretrial schedule.




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       Third Element

       The parties agree that an essential element of the conspiracy is that Concord joined the

agreement,10 but disagree as to two components of this instruction.

       First, Concord’s position is that the jury should be instructed that Concord “knowingly and

willfully” joined this agreement; the government proposes that the jury be instructed only that

Concord “intentionally” joined the agreement. For the reasons set forth above regarding including

a willfulness instruction as to the first element of the conspiracy, Concord believes willfulness

should be included in this instruction as well.

       Second, Concord proposes including the following in the conspiracy instruction:

       But before determining that Concord has become a member of a conspiracy, the
       evidence must prove beyond a reasonable doubt that the defendant knowingly
       participated in the unlawful plan with the specific intent to advance or further the
       objective or purpose of the conspiracy. The government must prove beyond a
       reasonable doubt that Concord was aware of the common purpose, had knowledge
       that the conspiracy existed, and was a willing participant with the intent to advance
       the purposes of the conspiracy.

This language was used to instruct the jury in a drug conspiracy case and was approved by the

D.C. Circuit in United States v. Bostick, 791 F.3d 127, 144 (D.C. Cir. 2015). Inclusion of this

instruction will ensure that the jury adequately considers whether Concord had the requisite intent

to join the conspiracy and that the jury does not convict if it finds that Concord had “no knowledge

or intent to join the conspiracy, but just happens to act in a way that is of benefit to the conspiracy,

or to a conspirator.” Id.11


10
      Concord’s proposal calls this the third element because of its proposal to include the duty to
report or register as the second element. In the government’s proposal, this is the second element.
11
      It is worth noting that this concept (“one who has no knowledge of a conspiracy, but happens
to act in a way which furthers some object or purpose of the conspiracy, does not become a
conspirator”) is included in the 9th Circuit Pattern Instruction upon which the government relies
elsewhere in its proposed instruction. See 9th Circuit Pattern Jury Instruction 8.21 Conspiracy to
Defraud the United States.


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       Fourth Element

       The parties agree that the final element of the conspiracy charge relates to overt act(s), and

generally agree as to the first portion of this instruction, including that the charged overt acts will

be provided to the jury separately.

       Concord’s proposal includes the following, which is not included in the government’s

proposal: “In other words, it is not sufficient for you to agree that some overt act was committed

without agreeing on which overt act was committed.” This precise language was included in the

jury instructions provided in United States v. Baylor, Case No. 6-cr-180-ESH (D.D.C.). The

government’s proposal acknowledges that the jury “must all agree on at least one overt act that

was done,” and Concord’s proposal simply reinforces that point.

       The government’s proposal with respect to overt acts includes the following instruction:

“Similarly, you need not find that the defendant in this case committed the overt act. It is sufficient

for the government to show that one of the conspirators knowingly committed an overt act in

furtherance of the conspiracy, since such an act becomes, in the eyes of the law, the act of all of

the members of the conspiracy. An overt act does not itself have to be unlawful. A lawful act may

be an element of a conspiracy if it was done for the purpose of carrying out the conspiracy.” This

language does not appear in the D.C. pattern instructions and the government does not cite any

D.C. case supporting inclusion of this instruction. Instead, the government pulls this language

from the 9th Circuit pattern instruction.

       But the substance of this proposal is captured in the portions of the instruction on which

the parties agree and is therefore unnecessary. The agreed-upon instructions state that “one of the

people involved in the conspiracy did something for the purpose of carrying out the conspiracy,”

from which it is clear that it is not required that the defendant commit the over act and only one of




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the conspirators did so. Additionally, the parties agree that the instruction should include the D.C.

pattern instruction that “[w]hen persons enter into an agreement to commit a crime, they become

agents for each other so that everything which is said or done by one of them in furtherance of that

purpose is deemed to be the statement of all who have joined in that conspiracy and is evidence

against all of the conspirators.”

       OBJECTS OF THE CONSPIRACY

       The parties disagree significantly over the instructions to be given to the jury regarding the

objects of the conspiracy.12 Concord’s proposal is modeled off of the instruction recently provided

by the Southern District of New York in United States v. Middendorf, 18-cr-36 (JPO) (S.D.N.Y.)

(attached as Exhibit 1), a prosecution involving a § 371 conspiracy to defraud charge involving

the SEC.

       Concord’s proposal instructs the jury about what an object of a conspiracy is and the three

objects of the conspiracy alleged in this case—impairing, obstructing, or defeating the lawful

functions of three separate government entities, the FEC, DOJ, and DOS. Concord’s proposal also

reiterates the concept of unanimity as to the specific government functions alleged to be part the

object of the conspiracy. Concord’s proposal makes clear that while the government must prove

beyond a reasonable doubt that Concord knew with specificity how the relevant laws described

the functions of the relevant agencies as they relate to the administration of disclosure requirements

and visa regulations, it is not necessary for the government to show that Concord was aware of a

specific law, rule, or regulation that the conduct may have violated. This instruction comports

with the D.C. Circuit’s decision in United States v. Burden, 934 F.3d 675, 690-93 (D.C. Cir. 2019).


12
   Concord did not use a separate heading to delineate specific sections of the conspiracy
instruction. Its proposal regarding the objects of the conspiracy appears on pages 21 through 23
of the Parties’ Proposed Jury Instructions.


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        Finally, Concord’s proposal regarding the object of the conspiracy includes a detailed

explanation of the functions of the three agencies at issue—the FEC, DOJ, and DOS—that the

government alleges the defendants conspired to interfere with. The government’s proposed

instructions relegates these functions to a single sentence. See Government’s Proposed Instruction

on the Elements of the Charged Offense, 248-1, at 29. But the functions of these government

agencies are critical to the jury’s understanding of the charge and must be explained in detail.

       CONCLUSION

       Concord’s proposed instruction concludes with the following explanation: “Interfering

with the U.S. political and electoral process of the United States, alone is not a crime. For Concord

to be found guilty of conspiracy you must find that Concord acted with specific intent to defraud

the specific functions alleged and not some other functions of the Federal Election Commission,

the Department of Justice, and/or the Department of State. You cannot convict Concord unless

you are unanimous in your decision regarding one or more of these government departments and

agency.”

       The first sentence represents an accurate statement of the law, and the Court has

acknowledged this. See May 24, 2019 Mem. Op. and Order, ECF 136, at 1 (“According to the

indictment, the conspirators’ ultimate goal was to sow discord among U.S. voters through divisive

social media posts and political rallies. That goal, by itself, was not illegal.”). Similarly, as set

forth above, the second sentence represents an accurate statement of the law, as the Court has

previously acknowledged. Supra at 20. The third sentence summarizes the specific unanimity

instruction that Concord proposes is required in this case, and should be provided to remind the

jury of the importance of its unanimity as to the specific government departments and agency and

functions, which the government has already acknowledged. Supra at 10-12.




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       MEANS OF DECEPTION

       The government’s proposed instruction includes a separate section titled “Means of

Deception.” This section repeats much of what is included elsewhere in Concord’s proposed

instruction. For example, Concord’s proposed introduction instructs that it is against the law to

agree with someone to defraud the United States and that the government is not required to prove

that the objective was achieved. See Concord’s Proposed Instruction: Conspiracy, ECF 248-1, at

18.13 Additionally, the instruction that the jury may consider acts taken by the alleged conspirators

when deciding whether they entered a conspiracy and whether defrauding the United States was

an objective of that conspiracy, is included elsewhere in the government’s proposed instruction

and in Concord’s proposed instruction. See ECF 248-1 at 24 (Concord’s proposed instruction) and

28 (government’s proposed instruction).

       As for the rest of the instruction, the government does not include specific authority for the

propositions, but simply includes a string cite to three different cases (two from different circuits)

at the end of the instruction. The citations provided do not appear to support the propositions the

government includes in this portion of the instruction. More specifically, neither United States v.

Gricco, 277 F.3d 339, 348 (3d Cir. 2002) nor United States v. Bilzerian, 926 F.2d 1285 (2d Cir.

1991), provide a basis to include a specific jury instruction that “the object of obstructing or

interfering with one of the United States government’s lawful functions, by deceit, craft, trickery,

or dishonest means can occur in either of two ways: (1) through acts of deceit, craft, trickery, or

dishonest means, or (2) through the failure to provide information to the government that is legally

required,” as the government suggests.


13
  These concepts are also included in the government’s proposed section entitled “Overview of
Conspiracy to Defraud the United States,” see ECF 248-1 at 26, and there is no reason to include
them again in a separate section.


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       In the final paragraph of the proposed “Means of Deception” instruction, the government

proposes instructing the jury that it can “find that the defendants conspired to use deceptive or

deceitful means to prevent government agencies from performing their lawful functions, even if

there was no duty to disclose information to those agencies. For the mere failure to submit

information to the government to constitute deception, however, there must have been a legal duty

to disclose that information.” This instruction is repetitive of what Concord proposes in elsewhere

in the instruction, see ECF 248-1 at 22, and is therefore unnecessary in a separate section as the

government proposes.

 Dated: December 16, 2019                            Respectfully submitted,

                                                     CONCORD MANAGEMENT
                                                     AND CONSULTING LLC

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